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                                     Certificate of Notice Page 1 of 3
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                                    Certificate of Notice Page 2 of 3
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                                                              Signed on 06/23/2022

                                                                                             SD
                                                    HONORABLE BRENDA
                                                    HONORABLE  BRENDA T.
                                                                      T. RHOADES,
                                                                         RHOADES,
                                                    UNITED
                                                    UNITED STATES
                                                           STATES BANKRUPTCY
                                                                  BANKRUPTCY JUDGE
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           Case 22-40667                   Doc 15         Filed 06/25/22 Entered 06/25/22 23:26:13                                      Desc Imaged
                                                         Certificate of Notice Page 3 of 3
                                                                 United States Bankruptcy Court
                                                                    Eastern District of Texas
In re:                                                                                                                    Case No. 22-40667-btr
Cameron M. Peroni                                                                                                         Chapter 7
       Debtor
                                                       CERTIFICATE OF NOTICE
District/off: 0540-4                                                     User: admin                                                                 Page 1 of 1
Date Rcvd: Jun 23, 2022                                                  Form ID: pdf400                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                   Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                    regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 25, 2022:
Recip ID                   Recipient Name and Address
db                       + Cameron M. Peroni, 4200 Horizon North Pkwy, Apt. No. 435, Dallas, TX 75287-2809

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                         BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                        NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 25, 2022                                              Signature:            /s/Gustava Winters




                                     CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 23, 2022 at the address(es) listed below:
Name                                 Email Address
Brandon J. Tittle
                                     on behalf of Debtor Cameron M. Peroni btittle@tittlelawgroup.com lgraham@tittlelawgroup.com;vlopez@tittlelawgroup.com

Mark A. Weisbart
                                     mweisbart@haywardfirm.com tsimmons@haywardfirm.com;ecf.alert+Weisbart@titlexi.com

US Trustee
                                     USTPRegion06.TY.ECF@USDOJ.GOV


TOTAL: 3
